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                    UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF PUERTO RICO


FRANCISCO RIVERA-MUÑIZ; VALERIE      CIVIL NO. 09-2081
DAPENA-DISDIER; the conjugal
partenrship constituted by them,
on their own behalf; and on
behalf of all others similarly
situated                             JURY TRIAL DEMANDED

Plaintiffs,

           v.

HORIZON LINES, INC.; HORIZON
LINES, LLC; HORIZON LOGISTICS,
LLC; HORIZON LINES OF PUERTO
RICO INC.; SEA STAR LINES, LLC;
CROWLEY MARITIME CORPORATION;
CROWLEY LINER SERVICES, INC.;
TRAILER BRIDGE, INC.; SALTCHUK
RESOURCES, INC.; PETER BACI;
ALEXANDER G. CHISHOLM; R. KEVIN
GILL; GREGORY GLOVA; GABRIEL
SERRA and LEONARD SHAPIRO

Defendants,



                       CLASS ACTION COMPLAINT

 TO THE HONORABLE COURT:

     COME NOW Plaintiffs, on their own behalf, and on behalf of the

class members made up by all other consumers in Puerto Rico found

under identical or similar circumstances, in light of the facts

that follow, bring this action for damages against defendants,

under the antitrust laws of the United States of America, demanding

a jury trial, alleging as follows:
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                                 NATURE OF THE CASE

       1.     On or about May 2002, and at least until April 2008,

Defendants        Horizon      Lines,     Inc.;    Horizon       Lines,     LLC;    Horizon

Logistics, LLC; Horizon Lines of Puerto Rico, Inc.; Sea Star Lines,

LLC; Crowley Maritime Corporation; Crowley Liner Services, Inc.;

Trailer     Bridge,      Inc.;      Saltchuk      Resources,      Inc.;      Peter    Baci;

Alexander G. Chisholm; R. Keving Gill; Gregory Glova; Gabriel

Serra;      and    Leonard      Shapiro      entered      into    and     engaged     in    a

combination and conspiracy to suppress and eliminate competition in

the    market      for   coastal     water    freight      transportation          services

between      the    United      Stated     and     Puerto    Rico       (“Puerto      Rican

cabotage”).         In furtherance of their conspiratorial objectives,

said    defendants        agreed     to    allocate       customers,        rig    bids    to

customers, and fix the prices of rates, surcharges and other fees

charged to customers, in violation of Sections 1 and 3 of the

Sherman Act, 15 U.S.C. §§ 1 and 3, and Section 2 of the Puerto Rico

Antitrust Act, 10 LPRA § 258.

       2.     As stated in the Memorandum of the United States in Aid

of Sentencing in regard to Defendant Peter Baci, The United States

government        has    and   is   continuing       to    conduct      a    lengthy       and

originally covert investigation regarding the conduct at issue in

this litigation.


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     3.      Furthermore, since about February 2008, a federal grand

jury sitting in the Middle District of Florida, assisted by the

Department of Justice Antitrust Division (“DOJ”), and the Federal

Bureau of Investigation (“FBI”), has been investigating, among

other things, possible federal antitrust offenses in connection

with freight shipments by water between the United Sates and Puerto

Rico.     Since April 2008, the DOJ investigation is continuing.

     4.      The DOJ investigation has produced direct evidence of the

conspiracy which is the subject of this litigation.

     5.      To date, five of the six individual Defendants have pled

guilty     to   charges    arising     from   the   Department    of   Justice

investigation.         Defendants Peter Baci, Kevin Gill, and Gabriel

Serra    have   pled    guilty   to   “participating   in   a   conspiracy   to

suppress and eliminate competition in the market of coastal water

freight shipments between the United States and Puerto Rico by

agreeing to allocate customers; agreeing to rig bids submitted to

government and commercial buyers; and agreeing to fix the prices of

rates, surcharges and other fees charged to customers; from at

least as early as May 2002 and until at least April 2008, in

violation of the Sherman Antitrust Act, 15, U.S.C. § 1.”

     6.      Defendant Gregory Glova has also pled guilty to similar

charges but has indicated that he did not join the conspiracy until

around December 2005.




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     7.      Defendant Alexander Chisholm, on his part, has pled

guilty to “corruptly altering, destroying, and concealing records

and documents and attempting to do so with the intent to impair the

availability of the records and documents for use in a federal

grand jury investigation, in violation of 18 U.S.C. § 1512(c)(1)”.

     8.      The five individual Defendants who have pled guilty were

executives of certain corporate Defendants during the relevant time

period.

     9.      Meanwhile, the United States government’s investigation

is ongoing and additional indictments are anticipated.

     10.     Because of the unlawful conduct of Horizon, Sea Star,

Crowley, Trailer Bridge, Saltchuk, the individual Defendants and

their     co-conspirators,    plaintiffs      and   other   class   members

artificially paid inflated prices when purchasing retail goods

within this District, for personal consumption, that were imported

to this District through the Puerto Rican cabotage marketed,

offered and/or sold by the Defendants (hereinafter, the imported

goods).


                         JURISDICTION AND VENUE

     11.     This action is instituted under Sections 4 and 16 of the

Clayton Act, 15 U.S.C. §§ 15 and 26, to recover treble damages and

costs   of   suit,   including   reasonable    attorneys’   fees,   against

Defendants Horizon, Sea Star, Crowley, Trailer Bridge, Saltchuk and

the individual Defendants for the injuries sustained by plaintiffs

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and the members of the class by reason of their violations of

Sections 1 and 3 of the Sherman Act, 15, U.S.C. §§ 1 and 3.

     12.   Subject matter jurisdiction is conferred upon this Court

by Sections 4 and 16 of the Clayton Act, 15 U.S.C. § 15(a) and 26,

and by 28 U.S. C. § 1331 and 1337.

     13.   Venue is proper in this District under Sections 4, 12 and

16 of the Clayton Act, 15 U.S.C. §§ 15, 22 and 26, and 28 U.S.C. §

1391(b), (c), and (d).        At least as early as May 2002, and

continuing until at least April 2008, one or more of the Defendants

resided, maintained offices, transacted business, was found, or had

agents in this District, and a substantial part of the events

giving rise to plaintiffs’ claims occurred, and a substantial

portion of the affected interstate trade and commerce described

below, has been carried out in this District.

     14.   This Court has personal jurisdiction over each Defendant

because, among other things, each of them:(a) transacted business

throughout the United States, including in this District; (b)

participated in cabotage in the United States, including in this

District; (c) had substantial contact with the United States,

including in this District; and/or (d) engaged in an illegal scheme

and conspiracy in violation of Section 1 and 3 of the Sherman Act

that was directed at and had the intended effect of causing injury

to persons and entities residing in, located in, or doing business

throughout the United States, including in this District.


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       15. Supplemental jurisdiction is pleaded under section 28

U.S.C. §1367, in order to plea a consumer cause of action under the

Consumer Class Action Act of Puerto Rico, Laws of P.R. Ann., Title

32, Sections 3341-3342, to recover for the damages herein sought as

a result of Defendants illegal conduct for violating Section 2 of

the Puerto Rico Antitrust Act, Laws of P.R. Ann., Title 10, Section

258.

                                  PARTIES

                                Plaintiffs

       16.   Plaintiffs Francisco Rivera-Muñiz, Valerie Dapena-Disdier

and the conjugal partnership constituted by them, have been, at all

relevant times, residents of the Commonwealth of Puerto Rico.

During the relevant times, they purchased retail goods within this

District, for personal consumption, from wholesalers, retailers,

and/or distributors (hereinafter, the distributors), who imported

the same by means of the cabotage marketed, offered and/or sold by

one or more of the Defendants.

       17.   The prices that the distributors paid for Puerto Rican

cabotage to Defendants were, as a result of the conspiracy alleged

in this complaint, higher than they otherwise would have been.

Consequently, the distributors added such inflated cabotage costs

to the final retail price of the imported goods.           Therefore, the

retail price paid by plaintiffs for the imported goods were, as a

result of the conspiracy alleged in this complaint, higher than


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they would otherwise have been, and, as a result of the conspiracy,

plaintiffs were injured in its persons and property by reason of

the antitrust violations pleaded.

                              Defendants

     18.   Defendant Horizon Lines, Inc. (“Horizon Inc.”) is a

Delaware corporation with its principal place of business in

Charlotte, North Carolina.       Its Stock is traded on the New York

Stock Exchange.    Is has operated as a holding company for the

following wholly-owned subsidiaries: (i) Horizon Lines, LLC: (ii)

Horizon Logistics Holdings, LLC; and (iii) Horizon Lines of Puerto

Rico, Inc.

     19.   Defendant   Horizon   Lines,    LLC    (“Horizon   LLC”)   is   a

Delaware limited liability company with its principal place of

business in Charlotte, North Carolina.           It is an ocean carriage

containership operating subsidiary of Horizon, Inc.           Horizon LLC

operated a fleet of 21 United States-flag containerships and five

port terminals linking the continental United States with Puerto

Rico, Hawaii, Alaska, Guam and Micronesia.

     20.   Defendant   Horizon   Logistics   Holdings,    LLC   (“Horizon

Logistics”) is a Delaware limited liability company with its

principal place of business in Charlotte, North Carolina. It is as

an ocean carriage management operating subsidiary of Horizon, Inc.

     21.   Defendant Horizon Lines of Puerto Rico, Inc. (“Horizon

Puerto Rico”) is a Delaware corporation with its principal place of


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business in San Juan, Puerto Rico.           Horizon Puerto Rico is in the

business of ocean shipping and operates a marine terminal in San

Juan, Puerto Rico.

      22.   Defendants Horizon, Inc., Horizon LLC, Horizon Logistics

and   Horizon   Puerto   Rico   are   collectively       referenced   in   this

complaint as “Horizon”.       Horizon is the nation’s leading domestic

ocean shipping and integrated logistics company, accounting for

approximately 38 percent of total United States maritime container

shipments from the continental United States to Puerto Rico,

Hawaii, Alaska, Guam and Micronesia, and approximately 35 percent

of the Puerto Rican cabotage market.            Horizon marketed and sold

Puerto Rican cabotage in the United States and in this District

from at least as early as May 2002, continuing until at least April

2008.

      23.   Defendant    Gabriel   Serra     (“Serra”)    is   an   individual

residing at Calle Washington #2, Condado Princess Apt. 1003, San

Juan, Puerto Rico.       During the relevant period, Serra was the

Senior Vice President and General Manager for the Puerto Rico

division of Horizon Lines, LLC, and was responsible for determining

Horizon’s pricing for Puerto Rican Cabotage.

      24.   Defendant    R.   Kevin   Gill    (“Gill”)    is   an   individual

residing at 7522 Seton House Lane, Charlotte, North Carolina. From

at least as early as May 2002, until December 2005, Gill was the

Marketing and Pricing Director for Horizon’s Puerto Rico division


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and was responsible for determining Horizon’s pricing for Puerto

Rican cabotage. From December 2005 until at least April 2008, Gill

was Horizon’s Vice President of Marketing and was responsible for

marketing Horizon’s Puerto Rican cabotage services.

      25.   Defendant   Gregory      Glova   (“Glova”)    is    an   individual

residing at 3230 India Wilkes Place, Charlotte, North Carolina.

From December 2005 until at least April 2008, Glova was the

Marketing and Pricing Director for Horizon’s Puerto Rico division

and was responsible for determining Horizon’s pricing for Puerto

Rican cabotage.

      26.   Defendant Sea Star Line, LLC (“Sea Star”) is a Delaware

corporation with its principal place of business in Jacksonville,

Florida.    Sea Star is privately held by SaltChuk Resources, Inc.

and Taino Star, Inc.     Sea Star provides integrated transportation

services to and from the United States, Puerto Rico, the United

States Virgin Islands and the Eastern Caribbean islands of Antigua,

St.   Kitts,   St.   Maarten   and    Tortola.   Sea     Star   accounts    for

approximately 21 percent of the Puerto Rican cabotage market.               Sea

Star marketed and sold Puerto Rican cabotage in the United States

and the District from at least as early as May 2002 and continuing

until at least as late as April 2008.

      27.   Defendant Peter Baci (“Baci”) is an individual residing

at 4021 Retford Drive, Jacksonville, Florida.            During the relevant

period, Baci was the Senior Vice President of Yield Management for


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Sea Star and was responsible for determining Sea Star’s pricing for

Puerto Rican cabotage.

     28.   Defendant   Alexander      G.   Chisholm    (“Chisholm”)    is   an

individual residing at 2705 Dahlonega Drive, Jacksonville, Florida.

During the relevant periods, Chisholm was the Assistant Vice

President of Yield Management for Sea Star.

     29.   Defendant      Crowley     Maritime   Corporation       (“Crowley

Maritime”) is a privately owned Delaware corporation with its

principal place of business at 9487 Regency Square Boulevard,

Jacksonville, Florida.

     30.   Defendant Crowley Liner Services, Inc. (“Crowley Liner”)

is a Delaware corporation with its principal place of business at

9487 Regency Square Boulevard, Jacksonville, Florida.                 Crowley

Liner is a wholly-owned subsidiary of Crowley Maritime.               Crowley

Liner has operated a fleet of 35 vessels and provides scheduled

marine   transportation    services    between   the    continental    United

States and ports in the Caribbean and Central America, including

ports in Puerto Rico.       Crowley Liner has operated at least nine

large multi-deck “rolls-on/rolls-off” (“ro/ro”) barges that ship

goods to and from Puerto Rico.

     31.   Crowley   Maritime   and    Crowley   Liner    are   collectively

referenced in this complaint as “Crowley”. Crowley has been in the

business of liner services, logistics, energy support, project

management, ocean towing and transportation, petroleum and chemical


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transportation, fuel sales and distributions, ship assist and

escort, salvage and emergency response, vessel construction and

naval architecture, and ship management.            Crowley accounts for

approximately 31 percent of the Puerto Rican cabotage market.

Crowley marketed and sold cabotage in the United States and in this

District from at least as early as May 2002 and continuing until at

least April 2008.

      32.   Defendant Trailer Bridge, Inc. (“Trailer Bridge”) is a

Delaware corporation with its principal place of business in

Jacksonville, Florida.     Its stock is publicly traded on the NASDAQ

global market.    Trailer Bridge offers integrated freight shipping

services between the continental United States and Puerto Rico. It

has been serving Puerto Rico since 1992 and has accounted for

approximately 14 percent of the Puerto Rican cabotage market.

Trailer Bridge marketed and sold Puerto Rican cabotage in the

United States and in this District from at least as early as May

2002 and continuing until at least April 2008.

      33.   Defendant Saltchuk Resources, Inc. (“Saltchuk”) is a

Washington corporation with its principal place of business in

Seattle, Washington.     Saltchuk, which was incorporated in 1982, is

a   privately   held   holding   company    with   approximately   sixteen

predominately maritime businesses.         Saltchuk has a ninety percent

equity interest in Sea Star Line.




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       34.    Defendant Leonard Shapiro (“Shapiro”) was a founder and

is currently a partner in Saltchuk Resources, Inc. Shapiro is also

the Vice President of Pricing for Totem Ocean Trailer Express,

another Saltchuk subsidiary.

       35.    Defendants Horizon, Sea Star, Crowley, Trailer Bridge and

Saltchuk are collectively referred to as “Corporate Defendants”.

       36.    Defendants    Serra,      Gill,    Glova,   Baci,     Chisholm,    and

Shapiro are collectively referred to as “Individual Defendants”.

       37.    The    “corporate      Defendants”       and    the     “individual

Defendants” are collectively referred to as “Defendants”.

                                        Agents

       38.    Whenever in this complaint reference is made to any act,

deed   or     transaction    of   any    Defendant    corporation      or   limited

liability company, the allegation means that the corporation or

limited liability company engaged in the act, deed or transaction

by   or    through    its   officers,     directors,      agents,    employees    or

representatives while they were actively engaged in the management,

direction, control or transaction of the corporation’s or limited

liability company’s business or affairs.

       39.    At all relevant times, each Defendant was an agent of

each of the remaining defendants and, in performing the acts

alleged in this complaint, was acting within the course and scope

of such agency. Each Defendant ratified or authorized the wrongful

acts of each of the other defendants.             Defendants are individually


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and collectively sued as participants and as aiders and abettors in

the improper acts and transactions that are the subject of this

action.

                    INTERSTATE TRADE AND COMMERCE

     40.   The activities of Defendants Horizon, Sea Star, Crowley,

Trailer Bridge, Saltchuk, the individual Defendants and their co-

conspirators that are the subject of this action were within the

flow of, and substantially affected, interstate trade and commerce,

including trade and commerce to, from, and within this District.

     41.   From at least as early as May 2002, and continuing until

at least April 2008, Defendants Horizon, Sea Star, Crowley, Trailer

Bridge,    Saltchuk,   the   individual   Defendants     and   their   co-

conspirators marketed and sold substantial quantities of Puerto

Rican cabotage in a continuous and uninterrupted flow of interstate

commerce to customers throughout the United States and Puerto Rico.

     42.   The market for Puerto Rican cabotage is estimated to be

worth many millions of dollars annually.

     43.   Defendants and their co-conspirators, and each of them,

have used instrumentalities of interstate commerce to market and

sell Puerto Rican cabotage.

                             THE JONES ACT

     44.   The Merchant Marine Act of 1920, 46 U.S.C. § 100, et.

seq., commonly referenced as the Jones Act, grants an exclusive

privilege to certain United States-flag vessels to engage in ocean


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shipping    of   merchandise    or    goods   to     or   from     United   States

territories, possessions, or non-contiguous states.                  This law is

restrictive,     prohibiting    all   other       vessels,   such    as   foreign-

flagged, foreign-built, foreign-crewed, or even foreign-refurbished

vessels from engaging in this trade.

     45.    The purpose of the Jones Act is to protect United States

shipping companies.       Its restriction on the carriage of domestic

ocean    cargo    to   United   States-made,         United      States-flagged,

predominately United States-crewed, and United States-owned ships,

combines with the relatively small size of these trade routes,

results in oligopolistic markets where only a very small number of

carriers serve any route.

     46.    The Jones Act provides no immunity to Defendants for

collusion,    customer    allocation,       bid    rigging    or    price   fixing

(subject to certain inapplicable exemptions), and the conspiracy

alleged in this complaint which violates Sections 1 and 3 of the

Sherman Act.

                             MARKET STRUCTURE

     47.    Ocean transport is a highly effective method for moving

large quantities of non-perishable goods and raw materials.                    The

major commodities shipped through domestic ocean shipping include

manufactured goods, farm products, coal, crude petroleum, refined

petroleum products and chemicals.




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      48.     The domestic ocean trade involved in this action if

Puerto      Rican    cabotage,     the   noncontiguous    trade        between   the

continental United States and Puerto Rico.

      49.     At all relevant times, Puerto Rican cabotage has been a

highly concentrated oligopoly controlled by Defendants Horizon, Sea

Star, Crowley and Trailer Bridge.

      50.     As described above, Horizon accounts for 35 percent of

the   Puerto        Rican   cabotage     market;    Sea   Star     accounts      for

approximately 21 percent of the Puerto Rican cabotage market;

Crowley accounts for over 30 percent of the Puerto Rican cabotage

market; and Trailer Bridge accounts for approximately 14 percent of

the Puerto Rican cabotage market.

      51.     This high degree of concentration facilitated the anti-

competitive conduct that is alleged here, because it is relatively

easy for a limited group of four sellers to reach agreement on

customer     allocation,     bid    rigging   and   prices,      and    to   monitor

adherence to such illegal agreement.

                              A FUNGIBLE SERVICE

      52.     Domestic ocean shipping services within any trade route

are highly fungible because carriers offer essentially the same

service: transportation of cargo from a specified origin to a

destination within a certain time frame.

      53.     Absent the alleged conspiracy, purchasers of Puerto Rican

cabotage would have selected a carrier based on price, and Horizon,


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Sea Star, Crowley and Trailer Bridge would have largely competed on

price.

                      LACK OF AVAILABLE SUBSTITUTES

       54.    There are few or no viable economic substitutes for

Puerto Rican cabotage. Shipping heavy, bulky goods via air-freight

is prohibitively expensive.             There are no roads or rail routes

between Puerto Rico and the mainland United States.

       55.    The lack of viable economic substitutes facilitated the

conspiracy that is the subject of this action, because it enabled

the Defendants to set supra-competitive prices without fear that

customers would switch to other alternatives.

                              HIGH ENTRY BARRIERS

       56.    There are substantial barriers to entry into the Puerto

Rican cabotage market, including: (a) insulation from foreign-

flagged, foreign-built, predominately foreign-crewed, and foreign-

refurbished     vessels;     (b)   entrenched    market     positions   of   the

incumbent     Defendant      shipping    companies;   (c)   a   large   capital

investment and long delivery lead times in building a new container

ship     in   the   United    States;     (d)   substantial     investment   in

infrastructure needed to handle container ships; (e) constraints on

port space in San Juan, Puerto Rico; (f) high fixed costs relative

to variable costs; and (g) need to develop a broad base of customer

relationships to realize economies of scale.




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      57.   There are substantial barriers to entry the facilitated

conspiracy that is the subject of this action, because they enabled

the Defendants to set supra-competitive prices without fear that

new entrants would come into the market, and undercut those prices.

                             INELASTIC DEMAND

      58.   Demand of Puerto Rican cabotage is inelastic.            Inelastic

demand for Puerto Rican cabotage meant that it was profitable for

the   cartel   that   is   the   subject   of   this   action   to   allocate

customers, rig bids and increase prices.

                            PRICING COMPONENTS

      59.   Charges for cargo transported by ocean carriage are

measured in revenue tons.        A revenue ton is the greater of (a) the

cubic measures, or (b) the weight of the shipment as packed, both

calculated under the metric system.         Other bill of lading charges

include receiving charges, bunker fuel charges, intermodal charges,

security fees, terminal handling fees, port surcharges, hazard

fees, and currency factors.

  GOVERNMENT ANTITRUST INVESTIGATION AND RESULTING GUILTY PLEAS

      60.   The United States government has conducted, and continues

to conduct, a lengthy covert investigation regarding the conduct of

Defendants and their co-conspirators that is at issue in this

litigation.

      61.   From in or about February 2008 to the present, a grand

jury sitting in the Middle District of Florida, assisted by the DOJ


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Antitrust Division and the Federal Bureau of Investigation, has

been investigating, among other things, possible federal antitrust

offenses in connection with freight shipments by water between the

mainland of the United States and Puerto Rico.

     62.    On or about April 17, 2008, agents of the FBI executed

search warrants on the premises of each of Defendants Horizon, Sea

Star, and Crowley regarding Puerto Rican cabotage.

     63.    On April 17, 2008 the DOJ disclosed its investigation

into the domestic noncontiguous trade ocean shipping industry, and

specifically Puerto Rican cabotage.

     64.    Also on April 17, 2008, Horizon Lines, Inc. issued a

press release revealing that it was served with search warrants and

a grand jury subpoena in connection with an investigation by the

Antitrust Division of the DOJ into the pricing practices of ocean

carriers operating in the Puerto Rico trade.          Horizon Lines, Inc.

also discussed the subpoena in its 10-Q filing dated April 25,

2008.    Horizon Lines, Inc. issued another press release on May 28,

2008 announcing that it placed six employees involved in Puerto

Rico trade on administrative leave as a result of its review of

issues raised by the DOJ’s investigation.           Horizon Lines, Inc’s.

2008 10K contained the following information regarding the DOJ

investigation:

     On April 17, 2008, the Company received a grand jury
     subpoena and search warrant from the U.S. District Court
     for the Middle District of Florida seeking information
     regarding an investigation by the Antitrust Division of


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     the Department of Justice (the “DOJ”) into possible
     antitrust violations in the domestic ocean shipping
     business. Subsequently, the DOJ expanded the time frame
     covered by the subpoena.

     In its 2008 10K, Horizon Lines, Inc. acknowledged that “in

connection with the DOJ investigation, it is possible that the

Company could suffer criminal prosecution and be required to pay a

substantial fine”.     Horizon Lines, Inc. then explained that “[o]n

October 20, 2008, three former managers of the Company plead guilty

to a conspiracy to eliminate competition and raise prices for

moving freight between the continental U.S. and Puerto Rico. These

guilty pleas were accepted by the court on January 20, 2009.”

     65.    On October 1, 2008, Defendants Baci, Gill, Glova, and

Serra were charged by criminal information with one count of

conspiracy to suppress and eliminate competition by rigging bids,

fixing prices and allocating customers in violation of 15 U.S.C. §

1.

     66.    On October 1, 2008, Defendant Chisholm was charged with

corruptly    altering,     destroying,     and   concealing    records   and

documents and attempting to do so with the intent to impair the

availability of the records and documents for use in a federal

grand jury investigation in violation of 18 U.S.C. § 1512(c)(1).

     67.    On   October   20,   2008,    Defendant   Serra,   Senior    Vice

President and General Manager of Horizon Lines, LLC’s Puerto Rico

division pled guilty to “participating in a conspiracy to suppress

and eliminate competition in the market for coastal water freight


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shipments between the United States and Puerto Rico by agreeing to

allocate customers; agreeing to rig bids submitted to government

and commercial buyers; and agreeing to fix the prices of rates,

surcharges and other fees charged to customers; from at least as

early as May 2002 and until at least April 2008, in violation of

the Sherman Antitrust Act, 15 U.S.C. § 1.”               Serra is scheduled to

be sentenced on April 27, 2009.

     68.    As   set        forth   in   Serra’s     plea    agreement,    Serra

“participated in a conspiracy with one or more providers of Puerto

Rico freight services, a primary purpose of which was to suppress

and eliminate competition”.              During the relevant time, Serra

“committed   acts      in    furtherance      of   the   conspiracy,   including

engaging in discussions and attending meetings with representatives

of one or more competing providers of Puerto Rico freight services.

During such discussions and meetings, agreements were reached

between and among competitors for Puerto Rico freight services to

allocate customers, rig bids submitted to government and commercial

buyers, and to fix the prices of rates, surcharges and other fees

charged to customers...” Serra “was a manager or supervisor in the

conspiracy which involved at least five participants and was

otherwise extensive”.          The plea agreement references that during

the relevant period, the “sales of Puerto Rico freight services” by

the corporation that employed Serra [Horizon} “totaled more than $1

billion”.



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     69.   The criminal information to which Serra pled guilty

stated that “[f]or the purpose of forming and carrying out the

charged combination and conspiracy, [Serra} and his co-conspirators

did those things that they had combined and conspired to do,

including, among other things:

           (a)   participated     in      meetings,      conversation,      and

                 communications in the United States and elsewhere

                 to discuss customers, rates, and bids for the sale

                 of Puerto Rico freight services;

           (b)   Agreed during those meetings, conversations, and

                 communications to allocate customers of Puerto Rico

                 freight      services      between      and      among     the

                 conspirators;

           (c)   agreed during those meetings, conversations, and

                 communications    to     fix,   stabilize,      and   maintain

                 rates,     surcharges,    and   other    fees    charged   to

                 customers of Puerto Rico freight services;

           (d)   agreed during those meetings, conversations, and

                 communications to rig bids submitted to commercial

                 and government customers of Puerto Rico freight

                 services;

           (e)   sold Puerto Rico freight services at collusive and

                 noncompetitive prices pursuant to the agreements

                 reached;



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            (f)     accepted payment for Puerto Rico freight services

                    at collusive and noncompetitive prices;

            (g)     authorized or consented to the participation of

                    subordinate employees in the conspiracy; and

            (h)     concealed     the    conspiracy      and   conspiratorial

                    contacts through various means, including private

                    e-mail accounts.”

      70.   On October 20, 2008 Defendant Gill, who was Marketing and

Pricing Director for Horizon’s Puerto Rico division from May 2002

until December 2005, and Vice President of marketing beginning in

December    2005,    likewise     pled    guilty    to   “participating   in    a

conspiracy to suppress and eliminate competition in the market for

coastal water freight shipments between the United States and

Puerto Rico by agreeing to allocate customers; agreeing to rig bids

submitted to government and commercial buyers; and agreeing to fix

the   prices   of    rates,     surcharges    and   other   fees   charged     to

customers; from at least as early as May 2002 and until at least

April 2008, in violation of the Sherman Antitrust Act, 15 U.S.C. §

1.” Gill is scheduled to be sentenced on April 27, 2009.

      71.   As set forth in Gill’s plea agreement, Gill “participated

in a conspiracy with one or more providers of Puerto Rico freight

services, a primary purpose of which was to suppress and eliminate

competition”. During the relevant times, Gill “committed acts in

furtherance of the conspiracy; including engaging in discussions



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and   attending        meetings      with    representatives       of     one    or    more

competing providers of Puerto Rico freight services. During such

discussions and meetings, agreements were reached between and among

competitors for Puerto Rico freight services to allocate customers,

rig bids submitted to government and commercial buyers, and to fix

the   prices      of    rates,     surcharges       and   other    fees    charged      to

customers...” Gil “was a manager or supervisor in the conspiracy

which    involved       at   least    five       participants     and   was     otherwise

extensive.” The plea agreement states that during the relevant

period,     the    “sales     of   Puerto        Rico   freight   services”       by    the

agreement states that during the relevant period, the “sales of

Puerto Rico freight services” by the corporation that employed Gill

[Horizon] “totaled more than $1 billion.”

      72.    The criminal information to which Gill pled guilty stated

that “[f]or the purpose of forming and carrying out the charged

combination and conspiracy, [Gil] and his co-conspirators did those

things that they combined and conspired to do, including among

other things:

             (a)       participated         in    meeting,      conversations,          and

                       communications in the United States and elsewhere

                       to discuss customers, rates, and bids for the sale

                       of Puerto Rico freight services;

             (b)       agreed during those meetings, conversations, and

                       communications to allocate customers of Puerto Rico



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                 freight      services      between      and     among     the

                 conspirators;

           (c)   agreed during those meetings, conversations, and

                 communications      to   fix,   stabilize,     and   maintain

                 rates,     surcharges,    and   other   fees    charged   to

                 customers of Puerto Rico freight services;

           (d)   agreed during those meetings, conversations, and

                 communications to rig bids submitted to commercial

                 and government customers of Puerto Rico freight

                 services;

           (e)   sold Puerto Rico freight services at collusive and

                 noncompetitive prices pursuant to the agreements

                 reached;

           (f)   accepted payment for Puerto Rico freight services

                 at collusive and noncompetitive prices;

           (g)   authorized or consented to the participation of

                 subordinate employees in the conspiracy; and

           (h)   concealed     the    conspiracy      and      conspiratorial

                 contacts through various means, including private

                 e-mail accounts.”

     73.   Defendant Glova became Marketing and Pricing Director for

Horizon’s Puerto Rico division in December 2005. Defendant Glova

likewise pled guilty to “participating in a conspiracy to suppress

and eliminate competition in the market for coastal water freight



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shipments between the mainland United States and Puerto Rico by

agreeing to allocate customers; agreeing to rig bids submitted to

government and commercial buyers; and agreeing to fix the prices of

rates, surcharges and other fees charged to customers in violation

of the Sherman Antitrust Act, 15 U.S.C. § 1" but indicated that he

did not join the conspiracy until around December 2005 when he

became the Marketing and Pricing Director.                  Glova was scheduled to

be sentenced April 27, 2009.

      74.   As    set        forth    in    Glova’s     plea    agreement,      Glova

“participated in a conspiracy with one or more providers of Puerto

Rico freight services, a primary purpose of which was to suppress

and   eliminate    competition”.           During     the   relevant   time,    Glova

“committed      acts    in    furtherance        of   the   conspiracy,   including

engaging in discussions and attending meeting with representatives

of one or more competing providers of Puerto Rico freight services.

During   such    discussions         and   meeting,     agreements     were   reached

between and among competitors for Puerto Rico freight services to

allocate customers, rig bids submitted to government and commercial

buyers, and to fix the prices of rates, surcharges and other fees

charged to customers...” Glova “was a manager or supervisor in the

conspiracy which involved at least five participants and was

otherwise extensive.” The plea agreement states that during the

relevant period, the “sales of Puerto Rico freight services by the

corporation that employed Glova [Horizon Lines, Inc.] “totaled more



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than $1 billion.”

     75.   The criminal information to which Glova pled guilty

stated that “[f]or the purpose of forming and carrying out the

charged combination and conspiracy, [Glova] and his co-conspirators

did those things that they combined and conspired to do, including

among other thigs:

           (a)   participated     in        meetings,    conversations,       and

                 communications in the United States and elsewhere

                 to discuss customers, rates, and bids for the sale

                 of Puerto Rico freight services;

           (b)   agreed during those meetings, conversations, and

                 communications to allocate customers of Puerto Rico

                 freight     services         between       and     among     the

                 conspirators;

           (c)   agreed during those meetings, conversations, and

                 communications    to       fix,    stabilize,     and   maintain

                 rates,    surcharges,        and   other   fees    charged   to

                 customers of Puerto Rico freight services;

           (d)   agreed during those meetings, conversations, and

                 communications to rig bids submitted to commercial

                 and government customers of Puerto Rico freight

                 services;

           (e)   sold Puerto Rico freight services at collusive and

                 noncompetitive prices pursuant to the agreements



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                  reached;

            (f)   accepted payment for Puerto Rico freight services

                  at collusive and noncompetitive prices;

            (g)   authorized or consented to the participation of

                  subordinate employees in the conspiracy; and

            (h)   concealed     the   conspiracy     and    conspiratorial

                  contacts through various means, including private

                  e-mail accounts.”

     76.    On May 7, 2008, Sea Star issued a press release stating

that it was cooperating with the DOJ’s investigation and had placed

a number of employees on indefinite administrative leave for

violations of company policy. Sea Star issued a statement on

October 1, 2008 confirming that two former employees agreed to

plead guilty for their involvement in the conspiracy and that those

two employees had been relieved of their responsibilities on May 5,

2008.

     77.    Once the investigation became public, Defendant Baci was

approached by government investigators. Although Baci initially

took steps to destroy incriminating documents and to otherwise

obstruct the investigation, he agreed to cooperate after being

presented with conclusive evidence against him, including the

existence of documents and tape recordings in the government’s

possession evidencing his participation in the conspiracy, as well

as the fact that several of his co-conspirators were already



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cooperating with the government’s investigation. (Memorandum of the

United   States     in   Aid   of   Sentencing    and   Motion   for   Downward

Departure).

      78.   On October 20, 2008, Baci, the Senior Vice President of

Yield Management for Sea Star, pled guilty to “participating in a

conspiracy to suppress and eliminate competition in the market for

coastal water freight shipments between the United States and

Puerto Rico by agreeing to allocate customers; agreeing to rig bids

submitted to government and commercial buyers; and agreeing to fix

the   prices   of    rates,    surcharges   and    other   fees   charged   to

customers; from at least as early as May 2002 and until at least

April 2008, in violation of the Sherman Antitrust Act, 15 U.S.C. §

1.”

      79.   As set forth in Baci’s plea agreement, Baci “participated

in a conspiracy with one or more providers of Puerto Rico freight

services, a primary purpose of which was to suppress and eliminate

competition”. During the relevant time, Baci, “committed acts in

furtherance of the conspiracy, including engaging in discussions

and attending meeting with representatives of one or more competing

providers of Puerto Rico freight services. During such discussions

and meetings, agreements were reached between and among competitors

for Puerto Rico freight services to allocate customers, rig bids

submitted to government and commercial buyers, and to fix the

prices of rates, surcharges and other fees charged to customers...”



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Baci “was a manager or supervisor in the conspiracy which involved

at least five participants and was otherwise extensive.” The plea

agreement states that during the relevant period, the “sales of

Puerto Rico freight services” by the corporation that employed Baci

[Sea Star] “totaled more that $1 billion.”

     80.   The criminal information to which Baci pled guilty stated

that “[f]or the purpose of forming and carrying out the charged

combination and conspiracy, [Baci] and his co-conspirators did

those things that they combined and conspired to do, including

among other things:

           (a)   participated     in        meetings,    conversations,       and

                 communications in the United States and elsewhere

                 to discuss customers, rates, and bids for the sale

                 of Puerto Rico freight services;

           (b)   agreed during those meetings, conversations, and

                 communications to allocate customers of Puerto Rico

                 freight     services         between       and     among     the

                 conspirators;

           (c)   agreed during those meetings, conversations, and

                 communications    to       fix,    stabilize,     and   maintain

                 rates,    surcharges,        and   other   fees    charged   to

                 customers of Puerto Rico freight services;

           (d)   agreed during those meetings, conversations, and

                 communications to rig bids submitted to commercial



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                 and government customers of Puerto Rico freight

                 services;

           (e)   sold Puerto Rico freight services at collusive and

                 noncompetitive prices pursuant to the agreements

                 reached;

           (f)   accepted payment for Puerto Rico freight services

                 at collusive and noncompetitive prices;

           (g)   authorized or consented to the participation of

                 subordinate employees in the conspiracy; and

           (h)   concealed   the     conspiracy   and    conspiratorial

                 contacts through various means, including private

                 e-mail accounts.”

     81.   In Baci’s Sentencing Memorandum dated January 26, 2009,

Baci made clear the he has been “aware of the entire conspiracy

form its inception”, that Defendant Shapiro, who “was one of the

major shareholders of Saltchuk”, “hatched the idea of collusion

with the other carriers” and that Sea Star, Horizon, Crowley and

Trailer participated in the conspiracy.

     82.   As set forth in the Memorandum of the United States in

Aid of Sentencing regarding Baci dated January 23, 2009, the

“United States believes [Baci] has provides truthful, complete and

reliable information.” In fact, “[t]he information [Baci] has

provided has been corroborated by documents and by information

provided by other cooperators and witnesses.” Baci’s “cooperation



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has been useful to the United States in as much as defendant was

one of the leaders and organizers of the charged conspiracy and,

therefore, has detailed insight regarding the illegal activity of

his co-conspirators.” “In particular, the information provided by

[Baci] has been useful in building cases against co-conspirators

who remain to be charged for their roles in the charged conspiracy

and other offenses.” In this regard, in his Sentencing Memorandum,

Baci avers that he may provide valuable assistance to the DOJ’s

investigation insofar as he has information regarding the antitrust

violations committed by Defendants Sea Star, Horizon, Crowley and

Trailer Bridge, and also regarding those individuals responsible

for supervising and implementing the criminal violations.

     83.   On January 30, 2009, Defendant Baci was sentenced to a

prison term of 48 months. As stated by the DOJ, such sentence is

the longest jail term ever imposed for a single antitrust charge.

See Department of Justice Press Release dated January 30, 2009,

Exhibit I, Judgment was entered on February 5, 2009.

     84.   On October 20, 2008, Defendant Chisholm, the Assistant

Vice President of Yield Management at Sea Star, pled guilty in the

United States District Court to a criminal information stating

that, on April 17, 2008, after becoming aware of an investigation

by a grand jury sitting in the Middle District of Florida, assisted

by the DOJ and the FBI, into possible federal antitrust offenses in

Puerto   Rican   cabotage   setting    forth   that   Crhisholm   corruptly


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altered,   destroyed,      and   concealed   records    and   documents   and

attempted to do so with the intent to impair the availability of

the records and documents for use in the investigation in violation

of 18 U.S.C. § 1512( c)(1).

     85.   According to news reports, Crowley’s Jacksonville office

was likewise raided by the FBI on or about April 18, 2008, in

conjunction   with   the    FBI’s   investigation      of   anti-competitive

conduct in the Puerto Rican Cabotage market.

     86.   On May 15, 2008, Trailer Bridge filed its Form 10-Q in

which it admitted that is had been served with a subpoena from the

DOJ seeking documents and information relating to a grand jury

investigation of unlawful pricing practices among Puerto Rico ocean

carriers. Trailer Bridge’s August 14, 2008 Form 10-Q stated that

Trailer Bridge made several document submissions to the government

in response to the subpoena.

     87.   According to publications such as Jasksonville Business

Journal, American Shipper and San Francisco Business Times, John D.

McCown who had served as Chief Executive Officer of Trailer Bridge

since November 1995, has recently resigned as CEO of the company.

      DEFENDANTS’ CONSPIRACY AND ANTI-COMPETITIVE BEHAVIOR

     88.   Beginning at least as early as May 2002, and continuing

until at least April 2008, Defendants Horizon, Sea Star, Crowley,

Trailer Bridge, Saltchuk, the individual Defendants and their co-

conspirators engaged in a continuing agreement, understanding and


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conspiracy   in   restraint   of   trade   to   restrict   competition   by

allocating customers, rigging bids, and fixing the prices of rates,

surcharges and other fees for Puerto Rican cabotage.

     89.   As the government has indicated, at least one of the

meetings in furtherance of the conspiracy took place in Florida.

Upon information and belief, multiple meetings and/or conversations

in furtherance of the conspiracy took place in Puerto Rico and in

Florida.

     90.   Defendant Baci in his Sentencing Memorandum specifically

identifies Defendants Sea Star, Horizon, Crowley and Trailer Bridge

as the companies involved in this conspiracy.

     91.     As set forth in Baci’s Sentencing Memorandum, Defendant

Shapiro, a principal in Defendant Saltchuk, “hatched the idea of

collusion with the other carriers.” While Shapiro was not an

officer of Sea Star, he inserted himself into the operations of Sea

Star and, as one of the principals of Saltchuk, he nonetheless

wielded significant authority which he used to intimidate Sea Star

employees, including Baci. (Peter Baci’s Sentencing Memorandum

dated January 26, 2009, p.8).

     92.   After Defendant Shapiro and Serra reached an agreement

regarding the conspiracy, Shapiro ordered Baci, the Senior Vice

President of Yield Management for Sea Star, to work with Gill, the

Marketing and Pricing Director for Horizon and later Glova, Gill’s

replacement, in implementing the agreement.



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      93.     Each of the individual Defendants other than Shapiro has

pled guilty to unlawful conduct in furtherance of the conspiracy.

      94.     The government’s investigation is ongoing and additional

indictments are anticipated.

      95.      As   the   government          acknowledged           in    its   Sentencing

Memorandum, Baci was one of the leaders and organizers of the

charged conspiracy who had detailed insight regarding the illegal

activity of his co-conspirators including information that has

assisted the government in building its case against those co-

conspirators     who    remain     to    be        charged    for    the    roles     in    the

conspiracy and other offenses.

      96.     Baci confirmed in his Sentencing Memorandum that he was

a participant in the illegal agreement from its inception.

      97.      During     two    interviews           with     the    government,          Baci

incriminated himself and his co-conspirators, and explained the

significance and context of documents he prepared during and in

furtherance of the conspiracy.

      98.      In   fact,       Baci    maintained           “contemporaneous         notes”

throughout the unlawful conspiracy.

      99.     In addition to Baci’s notebooks regarding the facts of

the   conspiracy,       Baci    has     “an        enormous    collection        of   emails

substantiating the conspiracy.”

      100.    According to Baci, detailed additional information also

exists      regarding     meetings       and         travel     which       will      further



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substantiate the conspiracy.

       101.    The United States, in its Memorandum makes clear that it

finds Baci and his information credible and useful and expects it

to substantiate charges against others.

                     PARALLEL PRICING AND OTHER CONDUCT

       102.    The conspiracy was conceived and implemented in order to

take    full    advantage     of    a    significant     shift     in   the   market

concentration        caused    by       the    bankruptcy     of    Navieras     NPR

(“Navieras”), one of the key participants in the market for Puerto

Rican cabotage.

       103.    Navieras filed for bankruptcy in 2001 and thereafter

ceased operations.          As Defendant Trailer Bridge has previously

explained, “From 1998 until 2002, the sustained volume-driven

business strategy of Navieras, the then-largest operator in the

market, had led to a poor pricing environment and low capacity

utilization.”        As a result of Navieras’ exit from the market, the

market for shipping services between the mainland United States and

Puerto Rico became even more concentrated.                  The concentration of

the market following Navieras’ exit created the conditions that

gave rise to the conspiracy alleged herein.

       104.    Defendants Horizon, Sea Star, Crowlwy, Trailer Bridge,

Saltchuk,      the   individual     Defendants     and   their     co-conspirators

launched their conspiracy in or about May 2002 following Naviera’s

exit from the market.


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     105.    Prior to April 2002, Puerto Rican cabotage had operated

at overcapacity.      Despite a nearly 14% increase in the number of

containers shipped on Puerto Rican trade routes from 1994 through

approximately 2003, freight rates for shipping between the United

Sates mainland and Puerto Rico declined by 30% due to excess

supply.

     106.     From May 2002 through April 2008, capacity for Puerto

Rico cabotage remained flat, but since approximately 2003, rates

surcharges     and   fees   have   increased      dramatically   and   nearly

simultaneously across Defendant suppliers.

     107.    Since at least early 2006, the Puerto Rican economy has

experienced an economic downturn, and, throughout 2007, it was in

a recession.    As a result of these economic conditions, there was

a significant and substantial softening of consumer demand and a

corresponding decrease in the volume of goods transported to Puerto

Rico from the United States mainland.                Despite weak economic

conditions,     softening     demand        and   increasing   overcapacity,

Defendants Horizon, Sea Star, Crowley and Trailer Bridge increased

their rates by approximately 9% directly contrary to what should

occur in a competitive market.

     108.    Defendant shipping lines also increased rates to supra.

competitive levels by, among other things, agreeing to carry each

other’s shipping containers when demand outstripped one Defendant

shipping line’s supply capacity.            Absent this agreement, Defendant



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shipping lines would have bid against each other for such business.

     109. For       example,      before      Navieras       filed     its       bankruptcy

petition,    it     had    provided    shipping          services    out    of    ports    in

Houston, Texas and Elizabeth, New Jersey.                   After Sea Star acquired

Naviera’s vessels in Naviera’s bankruptcy proceeding, Sea Star

discontinued the service out of Houston and Elizabeth.                             Instead,

Sea Star shipped containers on Horizon vessels out of those two

ports.

     110.     By May 2003, Defendants Horizon, Sea Star, Crowley and

Trailer Bridge had harmonized their bunker fuel surcharge at

approximately       $225    per   container,         even    through       fuel    cost,    a

percentage     of    operating        cost        (per    shipped-unit),          and   fuel

efficiency varied across these Defendants.                      Despite Defendant’s

differing cost structures,            Defendants Horizon, Sea Star, Crowley

and Trailer Bridge all provide similar services and their increased

surcharges were not driven by legitimate economic considerations.

     111.    In mid-March 2005, Defendants Horizon, Sea Star, Crowley

and Trailer Bridge uniformly imposed bunker fuel surcharges of

approximately $280 per container effective during the first week of

April 2005.       In mid-April 2005, each again uniformly increased the

bunker fuel surcharge to approximately $310 per container.

     112.     At the end of June 2005, Defendants Horizon, Sea Star,

Crowley and Trailer Bridge increased the bunker fuel surcharge by

approximately $15 per container, effective the end of July and



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beginning of September, respectively, and defendants Horizon and

Sea Star imposed approximately $15 increases in August, effective

at the beginning of September 2006.

     113. At the end of July 2006, Defendants Crowley and Trailer

Bridge   uniformly   increased    their   bunker    fuel   surcharge   by

approximately $15 per container, effective the end of July and

beginning of September, respectively, and defendants Horizon and

Sea Star imposed approximately $15 increases in August, effective

at the beginning of September 2006.

     114. Effective in mid-May 2007, each of Defendants Horizon,

Sea Star, Crowley and Trailer Bridge uniformly increased bunker

fuel surcharges by approximately $25 per container.

     115. Since 2002, Defendants Horizon, Sea Star, Crowley and

Trailer Bridge have changed bunker fuel surcharges, often with only

a few days’ notice; and the fuel surcharges to plaintiffs and the

class have been increased nearly simultaneously in almost the same

amounts by each of Horizon, Sea Star, Crowley and Trailer Bridge.

     116. The increases in the bunker fuel surcharges are not

supported by increases in the cost of bunker fuel.          In fact, the

impositions of bunker fuel surcharges per container or per vehicle

bears virtually no relation to increases in the costs of fuel

because any increase in the cost of fuel consumed is largely

independent of the number of containers or vehicles transported.




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     117. Instead,       the   imposition    of    increased      bunker   fuel

surcharges resulted in profits for Defendant shipping lines that

increased in lock step with their increased bunker fuel surcharges.

     118. As reported in the Journal of Commerce on January 22,

2007, container volumes for Puerto Rican cabotage decreased between

8% and 12% in 2006; yet, freight rates, including surcharges and

fees, increased an average of 5%.           In the third quarter of 2006,

Trailer Bridge reported earnings of $1.9 million, an increase over

the same period in 2005.        On March 5, 2007, Marine Log quoted John

D. McCrown, Chairman and CEO of Trailer Bridge as saying, “These

are the best quarterly financial results that Trailer Bridge has

reported in its history”. As the article makes clear, the increase

in earnings was due in part to increased rates, including fuel

surcharges.

     119. Defendants Horizon, Sea Star, Crowley and Trailer Bridge

not only insulated themselves from rising fuel costs, but, through

their    bunker   fuel   surcharges,    increased      profit   margins    in    a

declining market, directly contrary to what would occur in a

competitive market.

     120. Effective      at    the   beginning    of   April    2003,   each    of

defendants Horizon, Sea Star, Crowley and Trailer Bridge imposed a

security fee per container, where they had not done so previously,

except for Trailer Bridge.            The simultaneous imposition of a

security fee cannot be explained by increased cost.


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     121. Similarly, effective in February and March 2003, each of

Defendants   Horizon,    Sea    Star    and    Trailer    Bridge     imposed    an

approximately $40 per container terminal handling charge, where

they had not done so previously, except for Sea Star.                          The

imposition of the terminal handling charge cannot be explained by

increased costs.

     122. Defendants Horizon, Sea Star, Crowley and Trailer Bridge

have participated in trade association activities that fostered the

conspiracy that is the subject of this action.             Horizon, Sea Star,

Crowley and Trailer Bridge have all been members of the Maritime

Cabotage Task Force (“MCTF”), which was founded on September 27,

1995, to protect the United States maritime cabotage laws. The

MCTS’s Board of Directors has included Chuck Raymond and Robert

Zuckerman of Horizon and Michael Roberts of Crowley.

     123. Defendants     had    ready       access   to   industry    data   that

facilitated efficiently monitoring the conspiracy. The Port Import

Export Reporting Service (“PIERS”) collects and distributes, for a

fee, data for the maritime industry, including container size and

quantity, cargo quantity and unit of measure, and cargo weight and

volume.   This type of information allowed Defendants to monitor

their conspiracy and to verify its success.

     124. In forming and effectuating their contract, combination

or conspiracy, Defendants Horizon, Sea Star, Crowley and Trailer

Bridge,   Saltchuk,     the    individual      Defendants     and    their     co-



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conspirators did those things that they unlawfully combined and

conspired to do, including among other things:

                  a.    agreeing to allocate customers of Puerto Rican

                        cabotage;

                  b.    rigging bids to customers for Puerto Rican

                        cabotage;

                  c.    fixing rates, surcharges and other fees for

                        Puerto Rican cabotage;

                  d.    marketing and selling Puerto Rican cabotage at

                        agreed-upon    prices;

                  e.    exchanging    information    on   customers,     bids,

                        rates, surcharges, fees, volumes and capacity;

                        and

                  f.    implementing and monitoring the arrangements

                        among cartel members.

     125.         Defendants    Horizon,    Sea   Star,   Crowley,   Trailer

Bridge,     Saltchuk,   the    individual   Defendants     and   their    co-

conspirators engaged in the above conduct to facilitate their

unlawful agreements concerning customer allocation, bid rigging,

price fixing and other anticompetitive conduct concerning Puerto

Rican cabotage.

                              ANTITRUST INJURY

     126. Defendants’ conspiracy was inimical to the competitive

process regarding all consumers’ good shipped by means of the


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Puerto Rican cabotage, resulting in injury and financial damages to

plaintiffs, in amounts that are presently undetermined.                      See

Department of Justice Press Releases dated October 1, 2008 and

January 30, 2009.

     127. The conspiracy between Defendants Horizon, Sea Star,

Crowley, Trailer Bridge, Saltchuk, the individual Defendants and

their co-conspirators injured plaintiffs and class members in a

substantially      similar   manner      by    eliminating,   suppressing     and

reducing price competition in Puerto Rican cabotage, which had the

effect of raising, maintaining or otherwise stabilizing prices for

Puerto Rican cabotage at a supra-competitive level.

     128.      Because prices for Puerto Rican cabotage were fixed at,

maintained at, or increased to a level above where they otherwise

would have been in a competitive market, from at least as early as

May 2002 continuing until at least April 2008, the distributors

paid higher prices for Puerto Rican cabotage than they would have

paid had Defendants Horizon, Sea Star, Crowley, Trailer Bridge,

Saltchuk, the individual Defendants and their co-conspirators not

conspired to violate the antitrust law.

        129.   Consequently,       the   distributors   added   such    inflated

cabotage costs to the final retail price of the imported goods.

Therefore, the retail price paid by the plaintiffs for the imported

goods    were,   as   a   result    of   the    conspiracy    alleged   in   this

complaint, higher than they would otherwise have been.



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      130. Paying extremely elevated retail prices for the imported

goods, that were increased due to the addition by the distributors

of the inflated cabotage costs illegally fixed by the Defendants,

is the type of injury the antitrust laws were designed to prevent.


                          FRAUDULENT CONCEALMENT

      131. From 2002 through April 2008, Defendants Horizon, Sea

Star, Crowlwy, Trailer Bridge. Saltchuk, the individual Defendants

and   their    co-conspirators    have     affirmatively        and    wrongfully

concealed their unlawful conduct from plaintiffs and the class.

      132. The conspiracy that is the subject of this action was

fraudulently and wrongfully concealed by Defendants Horizon, Sea

Star,    Crowley,   Trailer    Bridge,     Saltchuk       and   the    individual

defendants by various means and methods, including, but not limited

to: (a) secret meetings; (b) misrepresentations to their Puerto

Rican cabotage customers concerning the reasons for increases in

rates,    surcharges    and   other   fees;   and     (    c    )   surreptitious

communications among defendants by the use of the telephone or in-

person meetings and through private e-mail accounts in order to

limit the existence of written records, minimize access to any

written records, and conceal from non-conspirators the existence

and nature of their discussions regarding customer allocation, bid

rigging, and price fixing.

      133. The criminal charges to which Defendants Baci, Gill,

Glova and Serra have pled guilty specifically indicate that the

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various means by which these Defendants “concealed the conspiracy

and   conspiratorial     contacts...     include[ed]    private    e-mail

accounts.”   In fact, once Baci became aware of the investigation,

he immediately called with directions to “shut down the email”.

Defendant    Chrisholm has pled guilty to “corruptly alter[ing],

destroy[ing], and conceal[ing] records and documents” relevant to

the grand jury’s investigation of antitrust violations in the

Puerto Rican cabotage industry.

      134. Defendants Horizon, Sea Star, Crowley, Trailer Bridge,

Saltchuk, the individual Defendants and their co-conspirators met

and communicated secretly concerning customers, bid rigging, rates,

surcharges and other fees so as to avoid detection and agreed among

themselves not to discuss publicly or otherwise reveal the nature

and substance of the acts and communications in furtherance of

their illegal conspiracy.

      135. Defendants’ public statements about the reasons for rate

and surcharge increases and inability to influence prices for

Puerto Rican cabotage were materially false and misleading and made

for the purpose of concealing Defendants’s anti-competitive scheme.

      136. In 2004, for example, Trailer Bridge’s CEO John McCown

stated in an interview that customer decisions were driven by

“[p]rice in an all-inclusive sense, which starts with the freight

rate,” implying that Defendants could not anti-competitively rig

bids or set and increase rates, surcharges or fees, and therefore



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were not doing so.

     137. The plaintiffs did not discover the existence of the

conspiracy that is the subject matter of this complaint until

October   20,   2008,   when   it   was   publicly   disclosed   that   the

individual Defendants pled guilty for the antitrust violations.

     138.   As a result of Defendants’ fraudulent concealment of

their conspiracy, the running of any statute of limitations has

been equitably tolled as to any claims of plaintiffs or members of

the class arising from Defendants’ anti-competitive conduct that is

the subject matter of this complaint.



                        CLASS ACTION ALLEGATIONS

     139. Plaintiffs bring this action on behalf of themselves and

as a class action under the provisions of Rules 23(a), (b)(2) and

(b)(3)of the Federal Rules of Civil Procedure on behalf of all

members of the following class:

     All consumers in Puerto Rico (excluding governmental
     entities, Defendants, co-conspirators, and the present
     and former parents, predecessors, subsidiaries and
     affiliates of the foregoing) who purchased, for personal
     consumption, the goods carried by means of the Puerto
     Rican cabotage serviced by the Defendants or their co-
     conspirators, or any present or former parent, subsidiary
     or affiliate thereof , at any time during the period from
     at least May 1, 2002, until April 17, 2008.

     140.   Plaintiffs reasonably believe that there are hundreds

thousands or millions of class members.




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     141. The class is so numerous and geographically dispersed

that joinder of all members is impracticable.

     142. Plaintiffs are members of the class, which claims are

typical of the claims of the class members, and plaintiffs will

fairly and adequately protect the interests of the members of the

class.

     143. Plaintiffs      are   the    ultimately      direct     purchasers    of

consumer goods that were brought to Puerto Rico by the above

mentioned Puerto Rican cabotage, and their interests are coincident

with, and not antagonistic to, those of the other members of the

class.    In addition, plaintiffs are represented by counsel who are

competent and experienced in the prosecution of antitrust and class

action litigation.

     144. There are questions of law and fact common to the class,

which predominate over any questions affecting only individual

members of the class, including legal and factual issues relating

to liability and damages. The questions common to the class relate

to the existence of the conspiracy alleged, the type and common

pattern    of    injury   sustained    as     a   result    thereof,     and   the

appropriate remedies, but no limited to:

            a.     whether   Defendants      Horizon,      Sea   Star,   Crowley,

                   Trailer   Bridge,        Saltchuk    and      the   individual

                   Defendants engaged in a combination or conspiracy

                   to allocate customers, rig bids, and fix the prices



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          of rates, surcharges and other fees for Puerto

          Rican cabotage;

    b.    the identity of the participants in the conspiracy;

    c.    the duration of the conspiracy that is the subject

          of this complaint and the nature and character of

          the acts performed by Defendants Horizon, Sea Star,

          Crowley, Trailer Bridge, Saltchuk, the individual

          Defendants and their co-conspirators in furtherance

          of the conspiracy;

    d.    whether the conspiracy that is the subject of this

          action violated Sections 1 and 3 of the Sherman Act

          and Puerto Rico Statutes Title 10 Section 258;

    e.    whether    the   conduct   of    Defendants    Horizon,    Sea

          Star,     Crowley,     Trailer    Bridge,     Saltchuk,    the

          individual Defendants and their co-conspirators, as

          alleged in this complaint, caused injury to the

          patrimony    and     property    of   plaintiffs   and    other

          members of the class;

    f.    the effect of Defendants’ conspiracy on the prices

          of Puerto Rican cabotage during the time from at

          least May 1, 2002, until April 17, 2008;

    g.    the effect of the cabotage price increases in the

          final retail price of the imported goods, during

          the time from at least May 1, 2002, until April 17,



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                    2008.

             h.     The appropriate measure of damages sustained by

                    plaintiffs and other members of the class; and

             i.     whether   Defendants      Horizon,       Sea   Star,    Crowley,

                    Trailer   Bridge,        Saltchuk    and       the    individual

                    Defendants undertook actions to wrongfully conceal

                    the unlawful conspiracy that is the subject of this

                    action.

      145. The prosecution of separate actions by individual members

of the class would create a risk of inconsistent or varying

adjudications.

      146. A class action is superior to other available methods for

the   fair    and    efficient     adjudication         of    this       controversy.

Prosecution as a class action will eliminate the possibility of

repetitious litigations.         Treatment as a class action will permit

a large number of similarly situated persons to adjudicate their

common claims in a single forum simultaneously, efficiently and

without duplication of effort and expense that numerous individual

actions would engender.          Class treatment will also permit the

adjudication of relatively small claims by many class members who

otherwise could not afford to litigate an antitrust claim such as

is asserted in this complaint.               This class action presents no

difficulties of management that would preclude its maintenance as

a class action.



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                                  CLAIMS

 COUNT 1 - Unlawful Conspiracy for Price Setting in Violation of
                  Sherman Act § 1, 15 U.S.C. § 1


     147. Plaintiffs incorporate by reference as if fully set forth

the allegations in Paragraphs 1 through 146 of this complaint.

     148. Beginning at least as early as May 2002 and continuing

until April, 17 2008, Defendants Horizon, Sea Star, Crowley,

Trailer Bridge, Saltchuk, the individual Defendants and their co-

conspirators, by and through their officers, directors, employees,

agents,   or   other   representatives,        entered   into    a     continuing

agreement, understanding and conspiracy in restraint of trade to

restrict competition by allocating customers, rigging bids, and

fixing the prices of rates, surcharges and other fees for Puerto

Rican cabotage in violation of Section 1 of the Sherman Acts, 15

U.S.C. § 1.

     149. Defendants’ unlawful conduct resulted in artificially

high, supra-competitive prices, charged by them and their co-

conspirators for Puerto Rican cabotage, and paid in last instance

by plaintiffs and the rest of the members of the class for most of

the goods purchased in Puerto Rico.

     150. Plaintiffs     and   members    of    the   class     paid    more   for

consumer goods sold in Puerto Rico than they would have paid in a

competitive    market,   unfettered      by    Defendants’      and    their   co-

conspirators’ unlawful anti-competitive activities.


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     151. Plaintiffs and members of the class seek to recover three

times their overcharge damages, plus interest, attorneys’ fees and

costs of litigation.

COUNT II - Unlawful Price Setting in Violation of Sherman Act. §
                        3, 15 U.S.C. § 3

     152. Plaintiffs incorporate by reference as if fully set forth

the allegations in Paragraphs 1 through 151 of this complaint.

     153. Beginning at least as early as May 2002, and continuing

until April 17, 2008, Defendants Horizon, Sea Star, Crowley,

Trailer Bridge, Saltchuk, the individual Defendants and their co-

conspirators, by and through their officers, directors, employees,

agents,   or   other   representatives,   entered   into   a   continuing

agreement, understanding and conspiracy in restraint of trade to

restrict competition by allocating customers, rigging bids, and

fixing the prices of rates, surcharges and other fees for Puerto

Rican cabotage in violation of section 3 of the Sherman Act, 15

U.S.C. § 3.

     154. Defendants’ unlawful conduct resulted in artificially

high, supra-competitive prices, charged by them and their co-

conspirators for Puerto Rican cabotage, and ultimately paid by

plaintiffs and all the other members of the class for most of the

goods purchased in Puerto Rico.




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     155. Plaintiffs and members of the class paid more for the

consumer goods bought by them than they would have paid in a

competitive    market    unfettered    by   Defendants’   and    their   co-

conspirators’ unlawful anti-competitive activities.

     156. Plaintiffs and members of the class seek to recover three

times their overcharge damages plus interests, attorneys’ fees and

costs of litigation.

 COUNT III - Violation of Puerto Rico Statutes Title 10 Section
                           258 et seq.

     157. Plaintiffs incorporate by reference as if fully set forth

the allegations in Paragraphs 1 through 156 of this complaint.

     158. Beginning at least as early as May 2002, and continuing

until April 17, 2008, Defendants Horizon, Sea Star, Crowley,

Trailer Bridge, Saltchuk, the individual Defendants and their co-

conspirators, by and through their officers, directors, employees,

agents,   or   other    representatives,    entered   into   a   continuing

agreement, understanding and conspiracy in restraint of trade to

restrict competition by allocating customers, rigging bids, and

fixing the prices of rates, surcharges and other fees for Puerto

Rican cabotage in violation of Puerto Rico Statutes Title 10

Section 258.

     159. Defendants’ unlawful conduct resulted in artificially

high, supra-competitive prices, charged by them and their co-

conspirators for Puerto Rican cabotage, and ultimately paid by




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plaintiffs and the other members of the class for most of the goods

purchased in Puerto Rico.

     160. Plaintiffs and the rest of the members of the class paid

more for consumer goods sold in Puerto Rico than they would have

paid in a competitive market unfettered by Defendants’ and their

co-conspirators’ unlawful anti-competitive activities.

     161. Pursuant to Puerto Rico Statutes Title 10 Section 268,

Plaintiffs and members of the class seek to recover three times

their overcharge damages plus interests, attorneys’ fees and costs

of litigation, plus a reasonable amount “not less than twenty-five

percent (25%) for attorneys fees” as mandated by section 3343 of

the Consumer Class Action, P.R. Laws Ann. tit. 32.

     162.    The Court shall also ordered the creation of a “Trust

Fund” wherein the amounts recovered by the plaintiffs on behalf of

the consumers unnamed or undetermined in this class suit shall be

deposited.    See §§ 1016-1017 of PR Laws Ann. tit. 23 (Consumer

Service Administration).

                           JURY TRIAL DEMAND

     Pursuant to Federal Rule of Civil Procedure 38(b), plaintiffs

demand a trial by jury of all issues asserted in this complaint so

triable.

                             RELIEF SOUGHT

     WHEREFORE, plaintiffs seek judgment that:




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       A.    The Court determine that this action may be maintained as

a class action under Rule 23 of the Federal Rules of Civil

Procedure;

       B.    The contract, combination or conspiracy, and the acts

done    in   furtherance   thereof    by   Defendants    and   their    co-

conspirators, be adjudged to have been in violation of Sections 1

and 3 of the Sherman Act, 15 U.S.C. §§ 1 and 3, and Puerto Rico

Statutes Title 10 Section 258 (Puerto Rico Antitrust Law);

       C.    Judgment be entered for plaintiffs and all other members

of the class against Defendants, jointly and severally, for three

times the amount of damages sustained by plaintiffs and all other

members of the class, as allowed by law, together with the costs of

this action, including reasonable attorneys’ fees; and

       D.    Plaintiffs and members of the class have such other,

further and different relief as the case may require and the court

may deem just and proper under the circumstances.

       RESPECTFULLY SUBMITTED.

       In San Juan, Puerto Rico, this 19th. day of October, 2009.



                                 s/José A. Andréu-García
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